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                  IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF OREGON

                                EUGENE DIVISION




 E. CALHOON                                               Civ. No. 6:23-cv-00841-AA

              Plaintiff,                                    OPINION AND ORDER


       v.


 JOHN COCHRAN

              Defendant.




________________________________________

AIKEN, District Judge:

      Plaintiff filed this case on June 9, 2023. ECF No. 1. Plaintiff filed proof of

service by affidavit that Defendant was served on September 2, 2023. Defendant has

failed to appear in the case. Plaintiff moves for Entry of Default against Defendant.

ECF No. 9.

      Under the Federal Rules of Civil Procedure, when a party fails to plead or

otherwise defend, the clerk must enter the party’s default. Fed. R. Civ. P.




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55(a). Accordingly, the Clerk of Court is ORDERED to enter DEFAULT in this

case against Defendant.



      It is so ORDERED.

      Dated this 21st day of February 2025.



                                  /s/Ann Aiken
                           __________________________

                                  Ann Aiken
                          United States District Judge




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